           Case 2:08-cr-00318-DAD Document 349 Filed 02/13/12 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   RUSSELL L. CARLBERG
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2748

 5

 6

 7                   IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )          CR NO. S-08-318 LKK
                                   )
11             Plaintiff,          )          STIPULATION AND ORDER
                                   )          TO VACATE RESTITUTION
12        v.                       )          HEARING
                                   )
13   CORY WHALEN,                  )
                                   )
14             Defendant.          )
     _____________________________ )
15

16                                 STIPULATION

17        IT IS HEREBY stipulated between the United States of America

18   through its undersigned counsel, Russell L. Carlberg, and John

19   Manning, Esq., counsel for defendant Cory Whalen, that the

20   restitution hearing scheduled for February 14, 2012, may be

21   vacated.   The government and Probation have not been able to

22   determine which entities recognized the losses associated with

23   the mortgage loans in this case due to their re-sale on the

24   secondary market.

25   DATE: February 13, 2012                  BENJAMIN B. WAGNER
                                              United States Attorney
26
                                        By:    /s/ Russell L. Carlberg______
27                                            Russell L. Carlberg
                                              Assistant U.S. Attorney
28
                                         1
           Case 2:08-cr-00318-DAD Document 349 Filed 02/13/12 Page 2 of 2


 1
                                                     /s/*
 2                                             JOHN MANNING
                                               Attorney for Defendant
 3                                             Cory Whalen

 4                                     ORDER

 5   IT IS SO ORDERED.

 6
     Dated: February 13, 2012
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24   * Signed with permission

25

26

27

28
                                         2
